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 1
 2                                UNITED STATES DISTRICT COURT

 3                                FOR THE DISTRICT OF COLUMBIA

 4
 5 UNITED STATES OF AMERICA, et al.,                   Case No. 1:20-cv-03010 (APM)

 6                  Plaintiffs,

 7          vs.

 8 GOOGLE LLC,
 9                  Defendant.

10
11                          DECLARATION OF ELLEN C. KENNEY
                    IN SUPPORT OF MOTION FOR ADMISSION PRO HAC VICE
12
13 I, Ellen C. Kenney, hereby declare:
14          1.     My name, office address, and telephone number are as follows:
15          Ellen C. Kenney
            Hueston Hennigan LLP
16          523 West 6th Street, Suite 400
17          Los Angeles, CA 90014
            Tel: 213-788-4340
18
            2.     I have been admitted to the following courts and bars:
19
            California State Bar (Admitted December 2013; No. 295022)
20          U.S.D.C. Central District of California (Admitted May 4, 2015)
21          3.     I am currently in good standing with all states, courts, and bars in which I am
22                 admitted.
23          4.     I have not previously been admitted pro hac vice in this Court.
24          5.     I do not have an office located within the District of Columbia.
25          I declare under penalty of perjury that the foregoing is true and correct. Executed in Los
26
     Angeles, California, this 27th day of August, 2021.
27
28
     DECL. OF ELLEN C. KENNEY                         1
     IN SUPP. OF MOT. FOR ADMISSION PRO HAC
     VICE
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 1 Dated this 27th day of August, 2021.       Respectfully submitted,

 2
 3                                                   /s/ Ellen C. Kenney
                                              Ellen C. Kenney
 4                                            Hueston Hennigan LLP
 5                                            523 West 6th Street, Suite 400
                                              Los Angeles, CA 90014
 6                                            Tel: 213-788-4340
                                              Fax: 888-775-0898
 7                                            ekenney@hueston.com
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     DECL. OF ELLEN C. KENNEY                   -2-
     IN SUPP. OF MOT. FOR ADMISSION PRO HAC
     VICE
